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CM/20 12R00782




                                                                       '9","",
                       IN TilE UNITED STATES DISTRICT coJm.  DEC 12 P 3: 0 b
                             FOR TIlE DISTRICT OF MARYLAND CLU':'S f)'-'Ir=-

                                     SOUTIIE~           DIVISION

UNITED STATES OF AMERICA                            *
                                                    *
                 v.                                 *    C"iminal No. PWG-13-0J()O
                                                    *
ALI SALlOONCIII,                                    *    Conspiracy to Export to an Embargocd
ARASH RASHTI MOHAMMAD,                              *        Country, 50 U.S.c. ~~ 1702, 1705 and
    a/Ii/a Arash RASHTI,                            *        31 C.F.R. ~~ 560.203 and 560.204;
MEIIDI MOIlAi\lMADI,                                *    Unlawful Export to an Embaq~ocd
        and                                         *        Country, 50 U.S.c. ~~ 1702 and 1705;
EIISAN NAGIISIIINEII,                               *    Aiding and Abctting, 18 U.S.c. ~ 2
                                                    *
                       Dcfcndants                   *
                                                  *
                                              *******
                          SECOND SUI'lmSEDlNG              INDICTMENT

       Thc Grand Jury for thc District or Maryland chargcs that:

                                           COUNT ONE

                        Conspiracv   to Export to an Embargocd       Country

                        Intcrnational Emcrgcncy Economic I'owc,'s Act
                                   and thc Iran Tradc Embargo

      , At all timcs material to this Indictment:

        I.       The Intcrnational Emcrgcncy Economic Powers Act (lEEPA). 50 U.S.c. ~ 170 I.

el seq. cstablishes criminal penaltics for willful violations or Presidential Ordcrs issued in times

or national emergency and for violations of regulations implementing those ordcrs.

        2.       Betwcen March and May 1995, the President issued a series or Executive Orders.

pursuant to his authority     under the IEEPA, linding that the actions and policies of the

Government of Iran constitutcd an unusual and extraordinary threat to thc national security.
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foreign policy and economy                of the United States.         In order to deal with that threat. the President

imposed economic              sanctions    against    Iran (also referred          to as the Islamic       Republic     of Iran). to

include a trade embargo             (the Iran Trade Embargo),            and authorized         the Secretary      of the Treasury

to take such action necessary              to carry out the purposes of the Executive               Orders.

           3.         In order     to implement        the Iran Trade Embargo              and other         economic       sanctions

imposed         by the Executive      Orders,     the Secretary        of the Treasury,     through       the Office of Foreign

Asscts      Control       (OFAC),     promulgated        the Iranian        Transactions         and     Sanctions      Regulations

(ITSR).         The ITSR prohibit,          among     other things,       the unauthorized         export,     re-export.      sale or

supply to Iran, directly           or indirectly,     of any goods or services            from the United            Stales or by a

United States person,            without     prior authorization         from the OFAC.           The ITSR further prohibit

any transaction        that evades or avoids, or has the purpose                   of evading     or avoiding,       or attempts       to

violate.    any of the prohibitions             contained    in the ITSR, including              the unauthorized           export     or

goods or services from the United States to a third country if the goods or services were intended

or destined       for Iran.     The Iran Trade Embargo            and the ITSR remained                in full force and effect at

all times relevant to this Indictment,               and would have precluded            the unauthorized          export or goods

or services to any Iranian entities.

           4.         Documents       relating to and/or facilitating          an export of goods include air waybills.

Shipper's        Export    Declarations,      bills of lading, and sales or shipping                   invoices,     which.    among

othcr things, identify the naturc and value of the items to be exported,                                the individual        shipping

them, and the true end-destination                   of the goods.         A Shipper's       Export       Declaration       (SED)       is

required if, among other things, the value of the item to be exported                           exceeds      $2,500, and/or if the

item was being exported               pursuant       to an export       license.      The filing       of the SED would              alert


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vanous fcdcral agencies to thc export and enable thcm to track the cxport and asccnain

compliance with licensing and other export requirements and restrictions.

                                         Defendants        and Entities

        5.       Defendant Ali SABOONCIII,            a citizcn of thc United States, resided in Maryland.

 SABOONCIIJ       created and opcrated Ace Electric Company (Acc Electric) in Maryland.

       6.        Arash     Rashti   MOHAMMAD,               a/k/a   Arash    RASIITI,   an Iranian national

residiilg in Iran, was identified as a Salcs Manager of thc business Darya Saze Aria Zamin

(DSAZ) located at an officc in the Tejarat Bank (Sarv Branch) Building in Tehran, Iran.

RASI.ITI also was identilied as the Chief Executive Ollieer of the business General DSAZ,

rZ-LLC, which had a post office box business address at the Amenity Center, a type of virtual

office service, in Abu Dhabi, United Arab Emirates (UAE).

       7.        Mchdi MOHAMMADI,              an Iranian national. was a businessman residing in Iran.

       S.        Ehsan NAGHSIIINEH,            an Iranian national, was a businessman residing in Iran.

       9.        At   no    time    relevant   to   this     Indictment     did   SABOONCHI,     RASIITI,

MOIJAMMADI,           NAGHSHINEII,         or the companies and individuals associatcd with them,

apply for, receive, or possess a license or authorization from the OFAC to export, re-exporl, sell

or supply goods or services, of any description, to or for Iran.

        10.      Company A, located in Maryland, was a supplier of industrial pump and process

equipment, including cyclone separators used in pipelincs to separate impurities such as sand

from liquid.

        11.      Company B, located in Minnesota, was a manuf>leturcr/supplicr                 of industrial

mcasurement instrumentation, including thermocouples uscd to measure temperatures of liquids


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in chemical and petrochemicallield                applications.

           12.       Company       C, located         in Texas, was a manufacturer/supplier                   of specialty      liltering

systems,     including        its patented     Swirlklean          Bypass       Filter    used   primarily       in the oil and gas

industry. with possible          uses in water, hydrocarbon                 and nuclear plants.

           13.       Company       D. located         in Maryland,          was a supplier       of process      control    equipment.

including        flow meters     primarily     used      111   industrial     applications       to measure      the flow of watcr,

and/or liquids and other gasses.

           14.       Company       E, located in Pennsylvania,                was a supplier       of fluid-handling        equipment.

including      springs for actuators.        also known as regulators                 or valves. used to control           the !low rate

of a liquid.

           15.       Company       F, located     in Pennsylvania,             was a supplier         of industrial     motion control

and fluid handling       products.        including     hydraulic     valves and connections.

           16.       Company       G, located         in Pennsylvania.          was a supplier          of industrial      fluid power.

automation        and motion      control     products,        including      liquid pumps        and check valves          having oil,

gas. energy, aerospace           and defense applications.

           17.       Company         H,     located      in     Arizona.       was       a supplier      of   industrial      electronic

components,         including     LCD modules,             or electronic        display      panels.    having    various      industrial

applications.

           18.       Company        I. located        in New        York.      was a manufacturer/supplier                 of industrial

pumps and related products            for usc in various laboratory                  and industrial     environments.

           19.       Company        J, located         in Oklahoma,            was    a manufacturer/supplier              of industrial

equipment,        including     digital camera sensors utilized to sense steel and other nonwoven                             material.


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       20.       Company K was a European manufacturer of industrial gas chromatograph and

analyser products.     Company L, located in New Jersey, was its United States distributer.

       21.       Company M, located in South Carolina, was a manufacturer/supplier             of safety

products for the nuclear and industrial sectors, including air-monitoring and radiation detection

devices.

                                             The Charge

       22.       Beginning in or about September 2009, and continuing up to and through In or

about March 2013. in the District of Maryland and elsewhere.

                                    ALI SABOONCIIl,
                      ARASH RASHTI MOHAMMAD, a/kla Arash RASHTI,
                                 MEHD! MOHAMMADI,
                                          and
                                 EIlSAN NAGHSIIINEII,

defendants herein, did knowingly and willfully combine, conspire, eon!cderate, and agree with

each other. and with others known and unknown to the Grand Jury. to knowingly and willfully

export and cause to be exported goods and services from the United States to Iran in violation of

the Iran Transactions     and Sanctions Regulations. without having first obtained the required

licenses or authorizations from the Department of the Treasury, Office off'oreign Assets Control.

in violation of Title 50. United States Code, Sections 1702 and 1705. and Title 31, Code of

Federal Regulations, Sections      560.203 and 560.204.

           23.   The objects of the conspiracy were:

                 a.      to provide services to Iranian individuals        and businesses    seeking to

purchase industria! parts and components manufactured and/or supplied in the United Slates:

                 b.       to supply   entities   in Iran   with   industrial   parts   and   components


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manufactured and/or supplied in the United States;

                 c.        to evade the prohibitions and liccnsing rcquiremcnts of thc Iran Trade

Embargo, the ITSR. and the lEEI' A: and

                 d.        to conceal the prohibited activities and transactions from dctection by the

United States govcrnment through deceit and other means so as to avoid penaltics and disruption

of the illcgal activity.

        24.      It was part of the conspiracy, among other things, that:

                 a.        SABOONClIl       created and operated      Ace Electric     Company     for the

purposc of obtaining goods to be sent to Iran.

                 b.        RASlITI,   MOIIAMMADI,           NAGIISIIINEIL      and/or other mcmbers of

the conspiracy and their associates solicited purchase orders and business from customers in Iran

for United States-origin industrial parts and components.

                 e.        RASIITI,   MOIIAMMADI,           NAGIISIIINEH.      and/or other mcmbers uf

the conspiracy and their associates requested that SABOONCIII             and others obtain price quotes

for. order, and/or purchase Unites States-origin industrial parts and components for subsequent

export tu Iran. all of which were subject to United States export regulations.

                 d.        SABOONCIII,      at the request of members of the conspiracy and other

Iranian-based     associates.   obtained   price   quotes    !(Jr. ordered.   and/or   purchased   Unitcd

States-origin industria! parts and components for subscquent export to Iran. all of which were

subject to United States export regulations.

                 e.        Members of the conspiracy arranged for SABOONCIII               and others to

make payment for orders that he or members of the conspiracy had placed with companics in thc


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United States.

                   I:      SABOONCIII        utilized locations in Maryland to accept dclivcry of the

United States-origin industrial parts and components ordered by him and/or members of the

conspiracy and their associates, and then shipped the goods to co-conspirators in UAE or China.

                 g.        RASHTI,      MOHAMMAD!,              NAGIISIIINEH,      and/or other members of

the conspiracy and thcir associates arranged for SABOONCIII                   to ship. or havc shipped. thc

goods he obtained to entities located in the UAE or China.            They furthcr arranged Illl"the entities

in thc UAE or China to forward the goods to them and/or their customcrs in Iran.

                 h.        SABOONCHI        and othcr members of the conspiracy provided. or caused

to be provided. false information on invoices and shipping documents regarding the true value of

the goods they exported, or caused to be exported, as a means by which to conceal and/or

filcilitate their unlawful export aetivities.

                 I.        Members of the conspiracy paid for the United States-origin             industrial

parts and components obtained by thcm. and thc associated shipping and n:laled fces. by money

transfers, including wire transfers and other deposits to bank accounts utilized by SABOONCIII

and/or his wife.

                 It was further part of the conspiracy that SABOONCIII              worked with RASIITI,

,\IOIIAMMAIH,           NAGIISHINElI,      and others on numcrous oecasions to aequire, or attempt to

acquire, goods from the United States to be sent to customers in Iran, including the following

transactions on or about the dates listed:

                 Attempt    tn Obtain   Il1duslJ'ial   Camera    System   fnr Expnl.t   tn Iran

        26.      On September      I, 2009, an Iranian individual known to thc Grand .Jury asked


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SABOONCIII          to assist in obtaining an industrial digital camera and accessories from Company

.I. since the company would not sell directly to Iran. I Ie indicated that the camera system would

be utilized in steel processing of Mobarakeh Steel, which is a company located in Isl~lhan. Iran.

On September 10, 2009, the defendant forwarded to the individual technical questions li'om

Company .I rcgardiog the product sought, and quoted a general price for the system.                           The

individual subsequently advised SABOONCIII               on how he should respond to Company .I in

order not to alert the company as to the end-user.         On November 9, 2009, SABOONCIII                    and

the individual discussed the preferred method of shipment ifSABOONCIII                     was ablc to purchase

tbe systcm.   SABOONCIII         asked the individual if he should ship thc items to his own addrcss

and then mail them to the individual, or makc the purchase in Europe              1'01'   shipmcnl to Iran.    Ilc

also asked if the items should be sent through Dubai, which was his prelcrcncc. or be shipped

directly to lran.     The individual indicated that whatever SABOONCIII                   deemed advisable was

line with him.

                    Solicitation of Iranian Business ami Creation of Ace Electric

        27.      On October 29, 2009, another Iranian individual known to the Grand Jury asked

SABOONCIJI          if he was intcrested in doing business.    SABOONCIII          replied that he was in the

"trade business" and would be at the individual's service.             The individual asked if he could be

SABOOi'\CIII's        partner in Iran.   SABOOi'\CIII      agreed and advised that if anyone needed

products from the United States, he could obtain them         1'01'   shipment to Iran. SABOOi'\CIII          told

the individual to look for eustomers and insure that he (the individual) receivcd a deposit from

them to guarantce payment for whatever products were sought.

        28.      On Novcmber         19, 2009,   RASIITI       askcd SABOONCII I far his decision


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regarding a possible business relationship between them.         SABOOi\'CIII        replied the next day

stating that he would start with a few projects until they got a beller sense of each othcr's

business.    On November 23, 2009, SABOONClII            told RASHTI that he was having difnculty

getting a quote for products sought by RASHTI to be shipped overseas.              SABOONCI H stated

that oncc he registered his own company in the United States, he might be able to obtain thc

products for shipment to his own address.       On December 18, 2009, SABOOi\'CH I rc~istercd

Ace Electric Company with the Maryland Department of Assessments and Taxation as a busincss

involved in "residential and commercial electrical low and high voltage and trading (export and

import)."    On December 29, 2009, SABOONCHI          advised RASIITI that he had opcned his own

company.     On March 9, 2010, RASHTI sent SABOOi\'CIII               a list of sixteen of his customers in

Iran, including   oil refineries,     a steel company,    petrochemical       companies,    and shipping

eompames.

                              Export of Cyclone ScparatOl's to Iran

       29.      On February 20, 2010, RASHTI received a request li'om the Shazand Arak Oil

Refining Company in Amk, Iran, which is an entity of the Iranian Ministry of Petroleum, sceking

to acquire two cyclone separators.        Beginning in September 2010, SABOOi\'CHI              sought to

obtain a quote and purchase the two cyclone separators       liOlll    Company A, which he ultimatcly

did on Novcmber 17,2010, for the total cost 01'$2,114.53.

       30.      On November         17, 20 I0, SABOONCIII     falsely advised Company A that the

cyclone separators were for use in the United States and told Company A to ship them to an

addrcss he used in floyds, Maryland.         SABOONCHI        reccivcd the cyclone separators li'om

Company A on December          10, 20 1O.    He subsequently caused the items to be shipped on


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December       27,2010,       at a valuation        of $100, to the Gencral            DSAZ address       in UAE providcd          by

RASIIT!.        The items arrived           in UAE on January              2, 2011.       RASIITI       thcrea/ter    arrangcd     for

dclivery to a co-conspirator          in UAI: for ultimatc delivcry to Iran.

                                            Export of Thermocouples               to Iran

         31.         Beginning      in June         2010,     RASHT!.        acting     on behalf      of Petrochemical          Kala

Company        (PKC)      in Iran, tried to obtain quotes                for thcrmocouples.          On September           20. 2010.

RASHTI         sent SABOONCllI               a request        to get a quote          on six specific        thermocouples       li'om

Company        B.    On November        11, 20 I0, SABOONCIII                  ordered     six thermocouples          of thc model

number    that RASHTI            had instructed        him to order.         Company        B respondcd        on November         15.

2010. with a quote            for a total price of $1.284.                On November            22, 2010.     SABOO~CIII.          at

RASIITI's direction.           falsely told Company            B that the ultimate destination           for thc thermocouples

was Turkey.

         32.         On November        23, 2010, SABOONCIII                   told Company          13 to ship the items to an

address he used in Boyds, Maryland,                   and send the bill to him at his home address                    in Rockville.

Maryland.           Company      13 shipped         the thermocouples          by FedEx          to the addrcss       provided     by

SABOONCIII            on January      19, 2011.        On February 3, 2011, SABOONCIII                        provided      RASHTI

with the tracking       number      for his shipment           of the products         to the address     used hy RASHTI            in

UAL         The      package      arrived      in    UAE       on   February      6.     2011.       RASIITI         then    cmailed

SABOONCIIJ            confirming     thc delivery and offered to deposit thc shipping                     costs an account held

bv SABOONCIII's               wife at Bank Melli in Iran.                On February       8, 201 1, RASHTI           arranged     f(n'


dclivery of the goods to a co-conspirator                   in UAE for ultimate dclivery           to Iran.




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                          Export of Stainless    Stcel Filtcr Elcmcnts       to Iran

           33.    On October IS, 2010, a buyer with PKC in Iran requested that RASIIT!               obtain 10

units of a specifically identified 30 micron stainless steel filter element from Company C. The

filter elements requests by PKC are used in Company C's Model I Swirlklean Bypass Filter.

RASIITI thereafter arranged for another person to place the order with Company C. However.

the other person was unable to transfer funds to Company C to pay for the order.

           3"1.   On December 6.2010. RASIIT( asked SABOONCIII                      to pay the inn)ice amount

of $151.53 directly to Company C, which SABOONCIII                 did.     RASIITI     thereafter reimbursed

SABOONCIII         for paying the invoice.      Company C shipped the goods directly to an address

provided by RASIITI in VAl:. for ultimate transport to I'KC in Iran.

                            Export of Swirlklean      Bypass Filters to Iran

           35.    On January 11, 2011, RASHTI contacted the buyer at PKC in Iran, referred to a

telephone conversation they previously had. and attached a description of a Swirlklcan Model I

Bypass Filter and associated components.           Subsequent emails between them established that

PKC wanted four of the Iilters.      RASIIT!      therealier placed the order with Company C. which

issued an invoice for 5>I .911.03 for four Swirlklean Model I Bypass Filters and associated

components.

           36.    On April 12, 2011, RASIITI        asked SABOONCIII            to pay the invoice amount

directly     to Company     C, which     SABOONCIII         did.          RASIITI      thercalier   reimbursed

SABOONCIII         for paying the invoice.      Company C shipped the goods directly to an address

provided by RASIITI in VAE, for ultimate transport to I'KC in Iran.




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                                   Export of Flow Meters to Iran

        37.      On Decembcr      18. 2010. a rcprescntativc     of A.R.I'.C..   an Iranian pctroleum

company. scnt an attachmcnt to RASIITI that was a rcqucst. with spccific model numbers and

specifications. for three flow meters.     On April 14.2011. one of RASIITI's      cmployccs cmailcd

SAHOONCIII        asking for price and delivery time on an attached list. which was the same that

A.IU'.C.   providcd.   On April 18, 2010 SAHOONCIII            emaiicd Company D and asked fill' a

quotc and delivery time on the same attachcd list.

        38.      Furthcr communications      resulted in thc issuance of a final invoicc on !\ugust 2.

2011, by Company D to SABOONCIII             for three of the spccificd flow meters at a cost of$5,856

plus shipping.    SABOONCIII      paid a total of $6,224.88 for the three meters. ineluding shipping.

and was rcimburscd by RASIITI            for those costs.   On Scptcmbcr 24. 20 I 1. SA BOONe II I

shippcd thc three metcrs from Germantown, Maryland, to General DSAZ in lJAE for ultimatc

dclivery by RASIIT( to A.R.I'.C. in Iran.

                                 Export of Aetulltor S(lI'ings to (rlln

       39.       On January 13,2011. a buyer at PKC in Iran sought a pricc quotc from RASIIT(

for an item specifically identified by part number on an attached documcnt and describcd as a

spring for an actuator.    On February 26, 2011 a DSAZ employce emailcdSABOOl.iCIII               for a

pricc quote and dclivcry time. and attached a description of thc samc itcm that RASIITI had

receivcd Ii'om I'KC.      On March 3.2011. SABOONCIII          sought a price quote li'om Company E

and included the attachment he had received from DSAZ.              On Mareh 4. 20 I 1. Company E

provided SABOONCIII         a quotc 01'$49.20 per spring.

       -lO.      On March 17, 20 II SABOONCIII           emaiicd Company E to completc an ordcr filr


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three springs and provided his credit card information and a shipping address in Ilaltimore.

  laryland.
i..•.          On March 25, 20 II Company E shipped the springs to SABOONCII I. and on

iVlareh 28. 20 II. Company E charged his credit card $166.46 for the parts. tax. and shipping

costs.   SABOONCIII      thereafter shipped the springs to the address provided by RASIITI                in

Ui\E for ultimate transport to PKC in Iran.

                          Export of Numcrous Industriall'ar.ts      to Iran

         41.    On March 16. 2011. RASIITI          received an email with an attachment              from a

representative of i\.R.P.C. in Iran, which contained a list of numerous industrial paris. including

hydraulic valves and connectors.    On March 17,2011, RASIITI sent the list to SAIlOONCIII

and asked him to get a quote on the parts from Company F. which SAIlOONCIlI                    did.    Alter

receiving a quote and checking with RASlITI, SAIlOONCIII           ordered the parts     Ii-Olll   Company

F and instructed that they be shipped directly to General DSAZ in UAE.

         42.    Thc parts werc sent to UAE in scveral shipments beginning on March 31. 2011.

and continuing into June 2011.       SABOONClII         was charged separately for each shipmcn!.

resulting in total charges of $7,067, and was reimbursed by RASIITI for those costs.               IL\SIITI

thcrealter made arrangements for dclivery of the parts to i\.R.P.C. in Iran.

                  Attl'mpl to Obtain Industrial    Componcnts    for Export to   InlJl



         43.    On May 3, 2011, RASIITl's     employee asked SABOONCIII          to determine a price

offer and time of delivery for approximately twenty-ninc industrial components manufactured by

Company K. That same day. SABOONCIII              submitted a request to Company L seeking a quote

for the components.     Company L asked SABOONCIII           to identify the location of the end-user

so a quote could hc provided.    SABOONCIII        rcsponded that the order was I"r General I)-SAl


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Fl-LLC locatcd in UAE.       On May 4, 20 II, Company L informed SABOONC/ll                     that a quote

would not bc provided bccause the products had already bcen quoted by the manufacturcr for a

customer in Iran. On May 5, 20 II, RASlITI's         employec was adviscd by Company K that an

offcr would not issuc since the project had already bccn quotcd by its distributor for Iran and

othcrs.

          44.   On May 7, 2011, RASIITI and SABOONCIII             discusscd how thcir dual inquiries

to Company K and Company L had compromised                 acquisition       of the products.      RASIITI

apologizcd, and told SABOONCIlI         that if asked, they should 1~t1sclyrcpresent that they got thc

order li'OIlla client in Iraq and did not know the ordcr was Ii'OIllIran.

                               Export of Pumps and Valves to       11':111



          45.   In email exchanges starting on July 24. 2012. SABOONCIII              attcmptcd to lill an

ordcr for J\lOIIAl\IMADI       for liquid pumps and cheek valves.            1\I0IIAi\II\IADI     wantcd to

know if SABOONCHI         accepted Rial (Iranian currency) paymcnt to f~ullily mcmbcrs in Iran and

if shipmcnt would be direct to Iran or through Dubai.     SABOONCIII           adviscd he would not scnd

anything straight througb to Iran. Thc next day, SABOONCIII              providcd 1\I0llAMMADI            an

outlinc of a possible delivery plan, and thcn subsequcntly advised MOIIAMl\IADI                      that he

would ship the goods by way of China, which he bclieved would be cheaper.                  In late August

2012, SABOONCIII         ordered   the requcstcd    pump and check valves             li'OIll Compauy     G.

Company G sent the parts to SABOONCIII           in Maryland in two shipments. with thc lirst order

($396.53 including Ireight) being shippcd on August 29. 2012. and the second order ($1.923.95

including freight) scnt on Scptcmbcr 17,2012.

          46.   On August 27, 2012, SABOONCIII            requcstcd NAGIISIIINEII's             assistance in


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shipping certain items to Iran. and inquired              about having those items shippcd             through    China or

elsewhere.     SABOONCIII            revealed that the purchaser       of the goods was in Iran.            On Septembcr

20. 2012. SABOONCIII               advised    NAGIISIIINEII          that the package         in qucstion    had arrivcd_

SABOOi\'CIII       mailcd     the items on September              22, 2012. to an addrcss          in Shenzhen.      China_

where it arrived       in early October       2012.      Images of the purehascd            items werc then sent Ii-om

China to SABOONCIII.

        47.      On Octobcr          7. 2012. SABOONCIII             inquired     about thc packagc         and ask cd for

i\'AGIISIJlNEIl's        tclephone    number in Iran in order to providc it to 1\10IlAI\1i\IADI.                  which hc

subsequently    did.      On October         23. 2012.    NAGJlSIIINEII            advised    SABOONCIII          that thc

package had arrivcd and would be delivered                that day to i\IOIIAl\IMADI.             On OelObcr 25. 2012.

NAGIISJlINEIJ confirmed              to SABOONCIII           that the package       was delivered     per their previous

discussion.

               Export of LCD Modules,                 Pump and Other Inl!uslriall'arts             to Iran

        48.      On Deeembcr          27, 2012, NAGIISIIINEII           askcd SABOONCIII              ifhc could obtaill

items lor him that could be transshipped               to him through    I-long Kong.         On Dcccmbcr        2X. 2012-

SABOOi\'CIII responded             that it would be best to coordinatc           shipmcnt    or any itcllls ill two stagcs

with 1\I0IIA1\I1\IADI.

        49.      On JanuaIY 3, 2013,            NAGIISIIINEII           asked     SABOONCIII           to purchasc     fifty

LCI) Illodulcs and livc magnifying             lenses from Company         II.     Hc   provided     wcb links to thosc

products on Company         II's website,     as well as web links for carbide end mills (a typc of drill bit

lor cutting    metals)     being     sold    on ebay     that he also     wanted        SABOONCIII           to purchase.

SABOOi\'CIII purchased             the LCD modules         from Company          II that same day. at a total cost or


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$421.15. luI' shipment            to his Parkville,       Maryland,    residence.      Between January 3 and January             I I.

2013. SABOONCIlI                  purchased.        or attempted    to purchase,     various carbide end mills via the ebay

web links provided by NAGIISHINEII.

          50.         On        January        9,      2013,       SABOONCIII           advised     NAGlISIIINEII               that

MO/IAMi\/ADI               had two orders. one for lightweight                plastic and metal washers.        and the othcr    1(11'


a "large and heavy motor" that would be combined                           with NAGIISllINEIl's           items lur shipment      to

China.      SABOONCIII               had previously        ordered these items, to include a pump and related parts.

li'om Company            I on January         2. 20 I3. at a total cost of approximately               $ I2.000.      Company          I

subsequently         shipped the products,            minus one pump cartridge           kit that was out of stock. over the

course of the following             weeks in separate           shipments     to SABOONCIlI's          residence     in Parkville.

Maryland.           On January        13. 2013.        SABOONClli             told NAGIISJIINE/I           that he had not yet

reecived payment           lI'om MOIIAMMADI                    of between"      I 5-20" for the merchandise        to hc shipped.

On January          15.2013,       NAGIISHlNEII                told SABOONClli          that the itcms ordered        by him and

MOIIAl\IMADI               would be separatcd           once received in Hong Kong.

           5 I.        On January 21,2013,              MOIIAMMADI              advised SABOONCII/             how much moncy

hc was transfen'ing             toward a total payment             of $17,500      for the items ordered       fi-om Company         I.

On January 23,2013,               SABOONCIII             directed NAGIISIlINEII            to determine       how much he owed

to SABOONClII                   luI' their    transaction,       to include     SABOONClIl's           commission,       and they

discussed         calculation     of the expenses          for subsequcnt       shipment    of thc merchandise        from Iiong

Kong to Iran.          On Fcbruary           I. 2013, SABOONCII/              shipped the industrial      parts and components

ohtained        for MOllAMMAD/                  and NAGIISlIlNElI               from Company       11 and Company          I to an

addrcss      in China           for subsequent         shipment     to Iran.       On the airway       bill    f())' the shipmcn!.


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SABOONCIII      listed the total valuc of the itcms as $1,850.

                     Attcmpt to Export Radioiodinc Air-Sampling       C:lI'tridgcs
                                 and Pump Cartridgc Kit to Iran

        52.    On February 7, 2013, Company I shipped to SABOONCHI              the previously out of

stock pump cartridge kit that he had ordered on MOIIAMMADI's             behalf on January 2, 2013

(referenced in paragraph 50 above).     The shipping carrier delivered the item on February 12,

2013, to SABOONCHI's        Parkville, Maryland, residence.

        53.    On February 20, 2013, MOHAMMADI             advised SABOONCHI          via email that he

had located five additional suppliers of a specific model radioiodine air-sampling cartridge used

in nuclear applications to detect radioactive contamination.      MOHAMMADI            referenced that

this was the same item SABOONCHI        told him he was unable to obtain for him because the prior

supplier had asked "too many questions."       On that same date, SABOONCIII            began seeking

quotes for the product.   On March 4.2013.     MOIIAMMADI        advised SABOONCHI           via email

that his customer had approved purchase of twenty of the requested radioiodine cartridges, and

directed that SABOONCIII      purchase them as soon as possible from a specific representative of

Company M. He also directed that SABOONCIII            send the radioiodine cartridges to him along

with the "remaining cartridge" (referring to the pump cartridge from Company 1 delivered to

SABOONCIII      on February 12,2013. as referenced in paragraph 5Jlabove).

       54.     On March 6, 2013, SABOONCIII,          acting on MOHAMMADI's            behalf, ordered

twenty radioiodine air-sampling cartridges from Company M. SABOONCIII                ordcred the items

under the name of Ace Electric. and provided his credit card number to pay the total purchase

price of S 144.78.    On March 13. 2013. Company M shipped the cartridges to the shipping



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address provided by SABOONCHI,      which was his home address in Parkville, Maryland.   The

shipping carrier delivered the cartridges to SABOONCHl's   residence on March 19,2013.




50 U.S.C.   99 1702, 1705
31 C.F.R.   99 560.203, 560.204




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                                          COUNT TWO

                           Unlawful Export to an Emhargoed Countr.y

        1.     The allegations set forth in paragraphs 1-10,23-25,    and 29-30 of Count One of

this Indictment are realleged and incorporated by reference as though fully set forth herein.

       2.      Beginning in or about February 20 J 0, and continuing through in or about January

201 J, in the District of Maryland,

                                ALI SABOONCHI
                                      and
                   ARASH RASHTI MOHAMMAD, a/kla Arash RASIITI,

defendants herein. did knowingly and willfully export and cause the exportation. and allempl to

export and cause the exportation, of certain goods, to wit. cyclone separators, and services frolll

the United States to Iran in violation of the ITSR, without having first obtained the required

licenses or authorizations from the Department of the Treasury. Office of Foreign Assets Control.




50 U.S.C. 99 1702, J 705
18U.S.C.92
31 C.F. R. 99 560.203, 560.204




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                                        COUNT THREE

                          Unlawful Export to an Embargoed       Countn'

        1.     The allegations set forth in paragraphs 1-9, 11, 23-25, and 31-32 of Count One of

this Indictment are realleged and incorporated by reference as though fully set forth herein,

               Beginning in or about June 2010, and continuing through in or aboul February

2011, in the District of Maryland,

                                  ALI SABOONCIII
                                        and
                   ARASII RASIITI MOIlAMMAD, a/k/a Arash RASIITI,

defendants herein, did knowingly and willfully export and cause the exportation, and attempt tn

export and cause the exportation, of certain goods, to wit, thermocouples, and services from the

United States to Iran in violation of the ITSR, without having first obtained the required licenses

or authorizations from the Department of the Treasury, OCliee of Foreign Assets Control.




50 U.S.c. SS 1702, 1705
18 U.S.c. S 2
31 C.F. R. SS 560.203, 560.204




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                                                  COUNT FOUR

                                Unlawful     Export to an Embargoed         Country

         1.         The allegations     set forth in paragraphs    1-9, 13,23-25,   and 37-38 of Count Onc of

this Indictment     are realleged     and incorporated   by reference   as though fully set forth herein.

        2.          Beginning    in or about      December     20 I 0, and continuing     through     in or about

Scptember     201 I, in the District of Maryland,

                                                ALI SABOONCIII
                                                         and
                       ARASH RASHTI MOHAMMAD, alk/a Arash RASHTI,

dcfcndants    herein. did knowingly        and willfully export and cause thc cxportation.          and attcmpt to

export and cause thc exportation.           of certain goods, to wit, flow metcrs.      and serviccs     Ii-om the

United States to Iran in violation         of the ITSR, without having first obtained     the rcquired    liccnscs

or authorizations     li'OIl1the Department     of the Treasury,   Office of Foreign Asscts Control.




50 U.S.c. SS 1702, 1705
18U.S.C.S2
31 C.F. R. SS 560.203, 560.204




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                                                   COUNT         FIVE

                                Unlawful     Export      to an Embargoed       Countrv

         1.         The allegations     set forth in paragraphs     1-9, 14,23-25,       and 39-40 of Count One of

this Indictment are realleged         and incorporated     by reference as though fully set forth hercin.

        2.          Bcginning   in or about January         20 II, and continuing        through   in or about April

2011, in thc District of Maryland,

                                               ALI SAHOONCIII
                                                     and
                       ARASII     RASIITI      MOHAMMAD,     alk/a Arasb             RASIITI.

dcfendants    hercin, did knowingly        and willfully export and cause thc cxportation.            and attcmpt to

export and causc the exportation,          of certain goods, to wit, actuator springs.        and serviccs     from the

United States to Iran in violation         of the ITSR, without having first obtained           the required   liccnses

or authorizations     from the Department       of the Treasury,        Office of Foreign Assets Control.




50 U.S.c. SS 1702, 1705
18 U.S.c. S 2
31 C.F. R.    ss
              560.203, 560.204




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                                           COUNT SIX

                          Unlawful Export to an Embargoed Counll'v

          I.    The allegations set forth in paragraphs 1.9, 16, 23.25. and 45-47 of Count Onc of

this Indictment are realleged and incorporated by reference as though fully set forth herein.

          2.    Beginning in or about July 2012, and continuing through in or about October

2012. in the District of Maryland,

                                        ALI SABOONCIII,
                                     MEHDI MOHAMMADI,
                                               and
                                     EIISAN NAGHSHINEII,

defendants herein, did knowingly and willfully export and cause the exportation, and attcmpt to

export and cause the exportation, of certain goods, to wit, pumps and valves, and services from

the United States to [ran in violation of the ITSR. without having first obtained the required

licenses or authorizations Ii-om the Department of the Treasury, Office of Foreign Assets Control.




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18 U.S.c.   S2
31 C.F.   R. SS 560.203, 560.204




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                                         COUNT SEVEN

                          Unlawful   Export to an Emhargocd     CountrY

       1.      The allegations set forth in paragraphs 1-9, 17-18,23-25, and 48-51 of Count Onc

of this Indictmcnt are reallcged and incorporated by refcrence as though fully sct forth hcrcin.

       2.      Bcginning in or about Deccmber 2012, and continuing            through in or about

Fcbruary 2013, in thc District of Maryland,

                                       ALI SABOONCIII,
                                     MElli>! MOIlAMMADI,
                                            and
                                     EHSAN NAGHSlIlNEH,

defcndants hcrcin, did knowingly and willfully export and causc the exportation, and attempt to

cxport and cause thc exportation, of certain goods, to wit, LCD modulcs, a pump, and other

industrial parts, and scrviccs from thc United States to Iran in violation of the ITSR, without

having first obtained the required licenses or authorizations from the Departmcnt of the Treasury,

Office of Foreign Assets Control.




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                                                   COUNT EIGHT

                         Unlawful       Attempt   to Export       to an Emhargoed     Counlrv

           I.        The allegations     set forth in paragraphs     1-9. IS. 21. 23-25. and 50-54 or Count One

of this Indictment      are realleged    and incorporated     by reference as though fully set forth herein.

           2.        Beginning   in or about December         2012. and continuing         through   in or about March

2013. in the District of Maryland.

                                                  ALI SAllOONCIII
                                                            and
                                             MEHD! MOHAMMAD!,

defendants      herein. did knowingly        and willfully    attempt    to export   and cause the exportation         of

certain goods. to wit. a pump cartridge             kit and twenty radioiodine        air-sampling      cartridges.   and

services from the United States to Iran in violation               of the ITSR. without having first obtained         the

required licenses or authorizations          from the Department        of the Treasury.     Orfice or Foreign Assets

Control.



50 U.S.c. SS 1702. 1705
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31 C.F. R.      ss
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                                                                     ~fj.~~
                                                                    Rod J. Rosenstein
                                                                    United States Allorney

1\ TRUE l3lLL:


SIGNATURE REDACTED

-LJiLJ/J-8                 .-----
Date


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